    Case 1:17-mc-00151-LPS Document 272 Filed 05/21/21 Page 1 of 3 PageID #: 7501




(302) 655-4425

dmason@paulweiss.com

(302) 261-7884


                                              May 21, 2021




        The Honorable Leonard P. Stark
        U.S. District Court for the District of Delaware
        844 North King Street
        Wilmington, Delaware 19801

                 Crystallex International Corp. v. Bolivarian Republic of Venezuela, et al.,
                                            C.A. No. 17-mc-151-LPS

        VIA ELECTRONIC FILING

        Dear Chief Judge Stark:

                 The Special Master, after reviewing written submissions from the parties,
        recommended that the Intervenor Bondholders be accorded “a limited set of rights” in
        proceedings before him. D.I. 265, at 1. The Special Master also found that “[i]n view of
        the set of rights I have proposed to provide to the Intervenor Bondholders and their role
        in this proceeding, I have determined not to seek to apportion fees to the Intervenor
        Bondholders.” Id. The Court should adopt these recommendations.

               The Intervenor Bondholders are beneficial owners of PDVSA’s senior secured
        notes due 2020. The 2020 Notes are secured by a pledge of 50.1% of the shares of
        CITGO Holding. CITGO Holding is a subsidiary of PDVH and the parent of CITGO
        Petroleum. Because CITGO Holding is closer than PDVH to the operating company, that
        pledge of shares of CITGO Holding is structurally senior to the interests that Crystallex
        and ConocoPhillips are seeking to establish through this action in shares of PDVH.

                In litigation arising from PDVSA’s payment default on the 2020 Notes, Judge
        Failla awarded damages of approximately $1.9 billion to the Trustee for those notes.
        Judge Failla also ruled that the security interest protecting the 2020 Notes is enforceable.
        See PDVSA v. MUFG Union Bank, N.A., 495 F. Supp. 3d 257 (S.D.N.Y. 2020), judgment
        entered, No. 19-cv-10023 (Dec. 1, 2020), D.I. 228, 229. Judge Failla stayed foreclosure
        on the collateral protecting the 2020 Notes pending PDVSA’s appeal to the Second
        Circuit. See 2020 WL 7711522 (S.D.N.Y. Dec. 29, 2020). That appeal is in progress.
Case 1:17-mc-00151-LPS Document 272 Filed 05/21/21 Page 2 of 3 PageID #: 7502



   The Honorable Leonard P. Stark                                                             2


           The Intervenor Bondholders have asserted two limited and defensive but highly
   important interests in proceedings before the Special Master in this action. First, the
   Intervenor Bondholders wish to participate in those proceedings so that they will become
   aware in a timely way of any attempt by Crystallex, ConocoPhillips, or the Venezuela
   Parties to structure the sales process for PDVH shares in a way that is prejudicial to the
   holders of the 2020 Notes. If that were to happen, the Intervenor Bondholders seek to be
   assured of a timely opportunity to object before the Special Master and this Court. Some
   background for this concern may be helpful.

            A purchaser of PDVH shares in a sale directed by this Court would acquire those
   shares subject to the security interest protecting the 2020 Notes. That result is dictated by
   the documents governing the 2020 Notes. In the view of the Intervenor Bondholders, that
   result could not be affected by any structure or procedure adopted in this action for the
   sale of PDVH shares. The Intervenor Bondholders, however, cannot currently anticipate
   all structures or procedures that other parties to this action might propose in an effort to
   cloud or obstruct future enforcement of the security interest protecting the 2020 Notes.

            All other participants in the proceedings before the Special Master have declared
   their hostility to enforcement of the security interest protecting the 2020 Notes. In the
   action before Judge Failla, PDVSA and PDVH sought to prohibit the Trustee and the
   Collateral Agent for the 2020 Notes from enforcing that pledge of collateral. The
   Republic of Venezuela filed amicus submissions supporting PDVSA and PDVH.
   Crystallex is separately seeking avoidance of that pledge of collateral as an alleged
   fraudulent transfer. See Crystallex Int’l Corp. v. PDV Holding, Inc., No. 16-cv-01007,
   Second Am. Compl. ¶¶ 15–20, 71–112, 146–50, D.I. 41-1. According to ConocoPhillips,
   that pledge of collateral was “a continuation of Venezuela and PDVSA’s campaign to
   liquidate, expatriate, encumber and/or shield [PDVSA’s] United States assets so that they
   cannot be seized by Venezuela and PDVSA’s many judgment creditors.” ConocoPhillips
   Petrozuata B.V. v. PDVSA, No. 16-cv-904 (D. Del. Oct. 6, 2016), Compl. ¶ 62, D.I. 1;
   see also id. ¶¶ 13–14, 58–61, 85.

           Second, the Intervenor Bondholders have an interest in ascertaining that full
   disclosure is made to prospective purchasers of PDVH shares concerning the pledge of
   collateral protecting the 2020 Notes.

            The Special Master is a judicial officer. The record on the critical issues within
   the scope of his appointment will be compiled in the first instance before him. Whatever
   formal standard of review may apply, this Court will evaluate his rulings with respect in
   light of his expertise and immersion in the subject matter. And the Intervenor
   Bondholders may not receive timely notice of developments if they are excluded from
   participation in proceedings before the Special Master.

           “‘When a party intervenes, it becomes a full participant in the lawsuit and is
   treated just as if it were an original party.’” Wayne Land & Min. Grp. LLC v. Del. River
   Basin Comm’n, 894 F.3d 509, 521 n.6 (3d Cir. 2018) (quoting Schneider v. Dumbarton
Case 1:17-mc-00151-LPS Document 272 Filed 05/21/21 Page 3 of 3 PageID #: 7503



   The Honorable Leonard P. Stark                                                              3


   Dev., Inc., 767 F.2d 1007, 1017 (D.C. Cir. 1985)). In granting the Intervenor
   Bondholders’ motion to intervene, this Court held that they “ha[ve] a sufficient interest to
   protect (i.e., an interest in collecting money owed to them by the Republic) that may be
   affected or impaired by the disposition of this action . . ., which is not adequately
   represented by the existing parties in this litigation.” D.I. 154, at 12. In reaching that
   result, the Court, following Third Circuit precedent, “prefer[red] pragmatism and
   elasticity over rigidity.” Id.; see also id. at 11. The Intervenor Bondholders seek to
   participate in proceedings before the Special Master for the forward-looking reason
   identified by this Court: to protect their “interest in collecting money owed to them” by
   PDVSA. The Court granted the Intervenor Bondholders’ motion to intervene after the
   Third Circuit had affirmed this Court’s issuance of the writ of attachment. The Court did
   not limit the scope of the intervention in the manner Crystallex now suggests.

           The Intervenor Bondholders will not be “disruptive,” as Crystallex hypothesizes
   without evidence or reasonable basis, in proceedings before the Special Master.
   Crystallex does not claim that they have previously been disruptive. The Special
   Master’s recommendation suggests that he is not concerned about this possibility.
   Counsel for the Intervenor Bondholders recently participated in conference calls among
   counsel in this action. Counsel for the Intervenor Bondholders were largely silent,
   because most matters under discussion did not involve the interests of the Intervenor
   Bondholders. That pattern is likely to continue for most issues. And this Court and the
   Special Master have ample tools to prevent disruptive conduct by any litigant.

           Fed. R. Civ. P. 53(g)(3) specifies that in allocating liability for a Special Master’s
   fees, a court should consider “the nature and amount of the controversy, the parties’
   means, and the extent to which any party is more responsible than other parties for the
   reference to a master.” These factors fully justify the Special Master’s decision not to
   allocate any liability for fees to the Intervenor Bondholders. Crystallex, ConocoPhillips,
   and the Venezuela Parties have voluntarily agreed to pay the Special Master’s fees.
   Crystallex and ConocoPhillips would benefit directly from such a sale. In contrast, the
   Intervenor Bondholders are not at all responsible for the reference to a master. They have
   not sought in this proceeding to enforce the money judgment awarded by Judge Failla to
   the Trustee for the 2020 Notes. The Trustee has not intervened in this action; it is
   seeking to enforce its security interest in shares of CITGO Holding through the action
   before Judge Failla. The Intervenor Bondholders have limited and defensive interests in
   the proceedings before the Special Master. They would recede from participation in
   those proceedings rather than pay a portion of fees, but they should not be put to that
   choice.

                                               Respectfully submitted,

                                               s/ Daniel A. Mason
                                               Daniel A. Mason (#5206)

   cc: All Counsel of Record
